    Case: 1:14-cv-04970 Document #: 283 Filed: 09/28/18 Page 1 of 2 PageID #:4587



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

PHILLIP BEVERLY and ROBERT BIONAZ, )
                                   )
           Plaintiffs,             )
                                   )                          No. 14-cv-04970
      v.                           )
                                   )                          Judge Andrea R. Wood
CHICAGO STATE UNIVERSITY BOARD     )
OF TRUSTEES, WAYNE D. WATSON,      )
PATRICK CAGE, and JANELLE CARTER, )
                                   )
           Defendants.             )

                                              ORDER

        Defendants’ Motion to Strike Plaintiffs’ Letter to the Court [270] is denied. Plaintiff’s
Letter to the Court [269] is construed as a request to submit supplemental authority and is granted.
The Court will consider both Plaintiff’s supplemental authority and Defendants’ substantive
response thereto in their motion to strike, in deciding the parties’ pending motions for
reconsideration. [255], [260] See the accompanying Statement for details.

                                           STATEMENT

        Plaintiffs Philip Beverly and Robert Bionaz have sued Defendants Chicago State
University Board of Trustees, Wayne D. Watson, Patrick Cage, and Janelle Carter for violations
of Plaintiffs’ First and Fourteenth Amendment rights, pursuant to 42 U.S.C. § 1983. When
Plaintiffs initiated this lawsuit, the case was originally assigned to Judge Joan B. Gotschall. On
September 28, 2017, Judge Gottschall issued a Memorandum Opinion and Order denying
Defendants’ motion to dismiss and denying in part and granting in part Defendants’ motion for
summary judgment. (Dkt. No. 245.) On October 16, 2017, this case was re-assigned to this Court.
(Dkt. No. 253.) Shortly thereafter, both parties filed motions for reconsideration of Judge
Gottschall’s opinion and order. (Dkt. Nos. 255, 260.)

         On December 21, 2017, Plaintiffs used the Electronic Court Filing (“ECF”) system to file
a letter to the Court and attaching a decision by the United States Court of Appeals for the Federal
Circuit, In Re Brunetti, 2018 WL 6391161 (Fed. Cir. Dec. 15, 2017). (Pls.’ Letter, Dkt. No. 269.)
Plaintiffs contend that In Re Brunetti is relevant to certain arguments advanced in their motion for
reconsideration and their opposition to Defendants’ motion for reconsideration. (Pls.’ Letter at 2.)
In response, Defendants filed the instant motion, requesting that the Court strike Plaintiffs’ letter.
(Dkt. No. 270.)

       As a preliminary matter, Defendants are mistaken to treat Plaintiffs’ submission as a
supplemental pleading governed by Federal Rule of Civil Procedure 15(d). The letter is clearly


                                                    

 
    Case: 1:14-cv-04970 Document #: 283 Filed: 09/28/18 Page 2 of 2 PageID #:4588



not a “pleading”—supplemental or otherwise—within the meaning of the Federal Rules of Civil
Procedure. As set forth in Federal Rule of Civil Procedure 7, the pleadings in a case include (1)
the complaint, (2) any answers to the complaint, (3) any answers to counterclaims designated as
counterclaims, (4) any answer to a crossclaim, (5) any third-party complaint, (6) any answer to a
third-party complaint, and (7) any reply to an answer. Fed. R. Civ. P. 7(a). Rule 15(d) addresses a
situation where a party seeks to supplement one of these types of “pleadings” in order to allege
facts relating to “any transaction, occurrence, or event” that occurred after the pleading was filed.
Fed. R. Civ. P. 15(d). Notably, “pleadings” are distinguished from “motions and other papers.”
Fed. R. Civ. P. 7(b). The latter category of filings includes the parties’ motions for reconsideration
and supporting briefs here.

        A review of Plaintiffs’ letter reveals that it is properly construed as a simple submission of
supplemental authority in support of their motion for consideration. It is true that even construed
as supplemental authority, the submission does not technically comply with this Court’s Standing
Order, which instructs counsel not to respond to motion by correspondence with the Court,
General Order 14.0024, which prohibits the use of ECF for filing letters of request, and Local
Rule 5.2, which governs the form of documents filed. Nonetheless, the Court exercises its
discretion to excuse the procedural error.

        Accordingly, the Court denies Defendants’ Motion to Strike Plaintiffs’ Letter to the Court
and request for attorneys’ fees included therein. The Court will consider both the supplemental
authority submitted by Plaintiffs and the substantive arguments relating to that authority advanced
in Defendants’ motion to strike.




Dated: September 28, 2018                             __________________________
                                                      Andrea R. Wood
                                                      United States District Judge
 




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